Case 3:16-md-02738-MAS-RLS   Document 32827   Filed 06/17/24   Page 1 of 36 PageID:
                                   187057




                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY



   IN RE: JOHNSON & JOHNSON TALCUM
   POWER PRODUCTS MARKETING, SALES
                                                  No. 3:16-md-02738-MAS-RLS
   PRACTICES, AND PRODUCTS LIABILITY
   LITIGATION



     DEFENDANTS JOHNSON & JOHNSON AND LLT MANAGEMENT,
      LLC’S RESPONSE IN OPPOSITION TO PLAINTIFF STEERING
      COMMITTEE’S, BEASLEY ALLEN’S, AND SMITH LAW FIRM’S
       MOTIONS TO QUASH AND/OR FOR PROTECTIVE ORDER




                                      i
Case 3:16-md-02738-MAS-RLS                   Document 32827               Filed 06/17/24           Page 2 of 36 PageID:
                                                   187058



                                           TABLE OF CONTENTS

  TABLE OF CONTENTS .......................................................................................... ii
  TABLE OF AUTHORITIES .................................................................................... iii
  INTRODUCTION .....................................................................................................1
  BACKGROUND .......................................................................................................3
  LEGAL STANDARD ..............................................................................................12
  ARGUMENT ...........................................................................................................13
           I.       Information about Litigation Funding is Considered Relevant
                    and Discoverable in Courts Across the Country. ................................13
           II.      There Is Good Cause For Discovery Of Information About
                    Litigation Funding Here. .....................................................................18
           III.     Litigation Financing Materials are Necessary to Assess
                    Champerty............................................................................................23
           IV.      Litigation Financing Materials are not Privileged or Protected
                    Work Product. ......................................................................................24
                    A.       Litigation financing materials are not privileged......................24
                    B.       Litigation financing materials are not work product. ...............26
           V.       The Requests Are Not Unduly Burdensome, Overbroad, Or
                    Harassing. ............................................................................................27
           VI.      The Subpoenas Are Procedurally Proper.............................................28
  CONCLUSION ........................................................................................................29




                                                             ii
Case 3:16-md-02738-MAS-RLS                     Document 32827               Filed 06/17/24           Page 3 of 36 PageID:
                                                     187059



                                          TABLE OF AUTHORITIES


  CASES
  Acceleration Bay LLC v. Activision Blizzard, Inc., 2018 WL 798731 (D. Del.
   Feb. 9, 2018) .................................................................................................. 17, 26
  Charlotte-Mecklenburg Hosp. Auth v. First of Georgia Ins. Co., 455 S.E. 2d
   655 (N.C. 1995).....................................................................................................23
  Clarity Sports Int’l LLC v. Redland Sports, No. 1:19-cv-00305, 2020 WL
   7342746 (M.D. Pa. Dec. 14, 2020) .......................................................................12
  Cobra Int’l, Inc. v. BCNY Int’l, Inc., No. 05-61225-CIV, 2013 WL 11311345
   (S.D. Fla. Nov. 4, 2013) ................................................................................. 18, 25
  Cohen v. Cohen, No. 09 Civ. 10230, 2015 WL 745712 (S.D.N.Y. Jan. 30,
   2015)......................................................................................................................25
  Curtis v. Progressive N. Ins. Co., No. CIV-17-1076-C, 2018 WL 2976432
   (W.D. Okla. June 13, 2018)...................................................................................29
  Dougherty v. Carlisle Transp. Prods., Inc., 610 Fed. App’x 91 (3d Cir. 2015) ......23
  Frick v. Henry Indus., Inc., No. 13-2490-JTM-GEB, 2016 WL 6966971 (D.
   Kan. Nov. 29, 2016) ..............................................................................................29
  Gbarbe v. Chevron Corp., No. 14-cv-00173, 2016 WL 4154849 (N.D. Cal.
   Aug. 5, 2016).................................................................................................. 17, 22
  Green v. Crosby, 314 F.R.D. 164 (E.D. Pa. 2016) ...................................................13
  Hedden v. Kean University, 434 N.J. Super. 1 (N.J. Super. Ct. App. Div.
   2013)......................................................................................................................24
  Henry v. Morgan’s Hotel Grp., Inc., No. 15-1789, 2016 WL 303114
   (S.D.N.Y. Jan. 25, 2016) .......................................................................................12
  Hobbs. v. Am. Commercial Barge Line LLC, No. 4:22-cv-00063, 2023 WL
   6276068 (S.D. Ind. Sept. 26, 2023) ......................................................................17
  In re Am. Med. Sys., Inc., MDL No. 2325, 2016 WL 3077904 (S.D. W. Va.
    May 31, 2016) .......................................................................................................18
  In re BK Racing, LLC, No. 18-30241, 2023 WL 3331563 (Bankr. W.D.N.C.
    May 9, 2023) .........................................................................................................29
  In re Broiler Chicken Antitrust Litig., No. 16 C 8367, 2024 WL 1214568
    (N.D. Ill. Mar. 21, 2024) .......................................................................................16


                                                               iii
Case 3:16-md-02738-MAS-RLS                      Document 32827               Filed 06/17/24           Page 4 of 36 PageID:
                                                      187060



  In re Dealer Mgmt. Sys. Antitrust Litig., 335 F.R.D 510 (N.D. Ill 2020) ................25
  In re Domestic Drywall Antitrust Litig., 300 F.R.D. 234 (E.D. Pa. 2014) ..............13
  In re Nat’l Prescription Opiate Litig., 2018 WL 2127807 (N.D. Ohio May 7,
    2018)......................................................................................................................18
  In re Nimitz Techs. LLC, 2023-103, 2022 WL 17494845 (Fed. Cir. Dec. 8,
    2022)......................................................................................................................17
  In re Pork Antitrust Litig., 2024 WL 2819438 (D. Minn. June 3, 2024) .................23
  In re Pork Antitrust Litig., 2024 WL 511890 (D. Minn. Feb. 9, 2024) ...................14
  In re Selser, 15 N.J. 393 (N.J. 1954) ........................................................................24
  In re Turkey Antitrust Litig., No. 19 C 8318, 2024 WL 1328824 (N.D. Ill.
    Mar. 28, 2024) .......................................................................................................14
  In re Valsartan, 405 F. Supp. 3d 612 (D.N.J. 2019) ................................... 12, 19, 20
  In re Zantac (Ranitidine) Prods. Liab. Litig., 2020 WL 1669444 (S.D. Fla.
    Apr. 3, 2020) .................................................................................................. 17, 18
  Leader Techs., Inc. v. Facebook, Inc., 719 F. Supp. 2d 373 (D. Del. 2010) ............25
  Montgomery Cty. v. MicroVote Corp., 175 F.3d 296 (3d Cir. 1999) ........................25
  Nelson v. Millennium Labs., Inc., No. 2:12-cv-01301, 2013 WL 11687684
   (D. Ariz. May 17, 2013) ........................................................................................18
  Nimitz Techs. LLC v. CNET Media, Inc., 2022 WL 17338396 (D. Del. Nov.
   30, 2022)......................................................................................................... 15, 16
  Official Comm. of Equity Sec. Holders of Mirant Corp. v. The Wilson Law
   Firm, P.C. (In re Mirant Corp.), 334 B.R. 787 (Bankr. N.D. Tex. 2005) .............20
  OMS Invs., Inc. v. Lebanon Seabord Corp., No. 08-2681, 2008 WL 4952445
   (D.N.J. Nov. 18, 2008) ..........................................................................................12
  Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340 (1978) ......................................12
  Pittston Co. v. Allianz Ins. Co., 143 F.R.D. 66 (D.N.J. 1992) .................................25
  R.J. Reynolds Tobacco v. Philip Morris, Inc., 29 Fed. App’x 880 (3d Cir.
   2002)......................................................................................................................27
  Rardon v. Falcon Safety Prods., Inc., No. 23-1594, No. 23-1596, 2023 WL
   5347298 (3d Cir. Aug. 21, 2023) ................................................................... 12, 27
  Stengart v. Loving Care Agency, Inc., 201 N.J. 300 (N.J. 2010) .............................24
  Trejo v. All Lynn, LLC, 344 F.R.D. 8 (D.N.J. 2023).................................................26


                                                                iv
Case 3:16-md-02738-MAS-RLS                     Document 32827               Filed 06/17/24          Page 5 of 36 PageID:
                                                     187061



  WFIC, LLC v. LaBarre, 148 A.3d 812 (Pa. 2016) ...................................................23

  STATUTES
  11 U.S.C. § 1125 ......................................................................................................20

  OTHER AUTHORITIES
  Black’s Law Dictionary (11th ed. 2019) ..................................................................23
  Hailey Konnath, Burford, Sysco Agree to Drop Litigation Funding Suits,
   Law360 (June 28, 2023)........................................................................................16
  JPML, MDL Statistics Report – Distribution of Pending MDL Dockets by
    Actions Pending (June 3, 2024) ..............................................................................7
  JPML, Statistical Analysis of Multidistrict Litigation: 1992 (Oct. 1992) .................7
  Patrick A. Tighe, Survey of Federal and State Disclosures Regarding
   Litigation Funding, Advisory Committee on Civil Rules (Feb. 7, 2018) .............15
  Tom Baker, Where’s the Insurance in Mass Tort Litigation?, 101 Tex. L.
   Rev. 1569, 1587 (2023) ...........................................................................................8
  U.S. Government Accountability Office, Third-Party Litigation Financing:
   Market Characteristics, Data, and Trends (Dec. 2022) .........................................9
  Westfleet Advisors, The Westfleet Insider: 2022 Litigation Finance Market
   Report (2022) ..........................................................................................................9

  RULES
  Fed. R. Civ. P. 26 ............................................................................................... 13, 26
  Fed. R. Civ. P. 45 ......................................................................................... 13, 28, 29
  L.R. 7.1.1 ........................................................................................................... 13, 14
  N.J. R. Evid. 504 ......................................................................................................24




                                                               v
Case 3:16-md-02738-MAS-RLS        Document 32827      Filed 06/17/24    Page 6 of 36 PageID:
                                        187062



         Defendants Johnson & Johnson and LLT Management LLC submit this

  opposition to the Plaintiffs’ Steering Committee’s (“PSC”), the Beasley Allen Law

  Firm’s (“Beasley Allen”), and the Smith Law Firm’s (collectively “Movants”)

  motions to quash and/or for protective order (ECF Nos. 32445, 32483, 32603).

                                   INTRODUCTION

         For several years, Defendants have been attempting to resolve the ongoing

  talc litigation, including with Beasley Allen. Today, there is an unprecedented offer

  on the table: resolution of all current and future talc-ovarian cancer claims for

  approximately $6.475 billion dollars through a “prepackaged” bankruptcy. Because

  this form of bankruptcy requires a 75% endorsement by the claimants themselves, it

  would represent the will of the true parties in interest. If approved, the proposed

  bankruptcy would represent one of the largest settlements in the history of mass tort

  litigation.

         Given that the defense has ultimately prevailed in 95% of talc-ovarian cancer

  cases tried to date—including all eleven cases tried to date by Beasley Allen—

  resolution is in the best interest of the claimants in this litigation. Yet Beasley Allen

  is vehemently opposed to any resolution that does not maximize its own fee recovery

  (through, for instance, common benefit fund payments) as opposed to maximizing

  recoveries by its clients. Not only does Beasley Allen apparently intend to vote

  against the bankruptcy settlement on behalf of its over 11,000 clients, it has now



                                             1
Case 3:16-md-02738-MAS-RLS         Document 32827       Filed 06/17/24    Page 7 of 36 PageID:
                                         187063



  gone so far as to file a request for injunction to prevent the settlement from going

  forward even if it is supported by over 75% of claimants. Worse than that, Beasley

  Allen expressly told at least one of its clients (and likely more) that Defendants are

  “not willing to settle,” a contention this Court knows is demonstrably false.

         Even setting aside its opposition to the $6.475 billion settlement offer, Beasley

  Allen’s misrepresentations to its own client regarding settlement raise, at a bare

  minimum, questions regarding whether the firm’s interests are truly aligned with its

  clients’ interests and whether the firm’s own financial incentives are interfering with

  resolution of this litigation.

         The District of New Jersey has recognized through Rule 7.1.1 that litigation

  funding could create just this sort of perverse-incentive, conflict-of-interest scenario.

  The Rule makes clear that information regarding litigation funding is relevant and

  discoverable precisely because it can result in a situation where the mere presence

  of a litigation financier creates conflicts of interest that impair the parties’ ability to

  settle. And it’s more than just whether the express terms of any agreement give a

  funder formal control over a settlement; the size of the loan can be so large that no

  settlement could ever be achieved that would be economically rational for both sides.

         Given the extreme lengths to which Beasley Allen (and its co-counsel) have

  gone to derail voting on the proposed prepackaged bankruptcy, Defendants are left

  with no choice but to seek discovery that would shed light on what is really driving



                                              2
Case 3:16-md-02738-MAS-RLS       Document 32827     Filed 06/17/24   Page 8 of 36 PageID:
                                       187064



  the firm’s persistent and vocal anti-vote campaign. In short, information regarding

  the litigation funding sought in Defendants’ subpoenas is relevant, discoverable, and

  important to reaching a resolution of this MDL.

                                   BACKGROUND

          History Of Settlement Negotiations With Beasley Allen

          The Beasley Allen Law Firm, according to testimony from firm principal

  Andy Birchfield, represents over 11,000 talc claimants. Exhibit 1, April 17, 2023

  Deposition of A. Birchfield at 8:17–19. Mr. Birchfield has personally engaged in

  settlement negotiations with Defendants regarding talc claims for years. Id. at 56:6–

  57:9. Those settlement negotiations began as far back as 2020 with Defendants’

  outside settlement counsel, Jim Murdica. Id. at 60:8–18.

          For example, a 58-page term sheet was created for resolving all current and

  future ovarian cancer claims for $3.25 billion. Id. at 65:9–66:23. The term sheet

  included input from both sides and was a “culmination of discussions” Mr.

  Birchfield had with Mr. Murdica at that time. Id. at 83:19-84:5, 86:3–7. Later, a

  matrix was prepared that specified how ovarian claims would be paid. Id. at 81:23–

  82:8.

          Through prior efforts to resolve the litigation via bankruptcy, Defendants

  proposed settlements that would have resolved all current and future talc claims

  (including mesothelioma and state attorneys general claims, as well as ovarian



                                           3
Case 3:16-md-02738-MAS-RLS       Document 32827    Filed 06/17/24   Page 9 of 36 PageID:
                                       187065



  cancer claims) for up to $8.9 billion. See Exhibit 2, Informational Brief of LTL

  Management LLC (ECF No. 3), In re LTL Management LLC, No. 21-30589 (Bankr.

  W.D.N.C. Oct. 14, 2021); Exhibit 3, Debtor’s Statement Regarding Refiling of

  Chapter 11 Case, In re LTL Management LLC, No. 23-12825 (Bankr. D.N.J. Apr. 4,

  2023).

        Most recently, in May 2024, Defendants proposed a settlement through a

  “prepackaged” bankruptcy plan that would resolve just the current and future

  ovarian claims for approximately $6.475 billion dollars. Exhibit 4, May 1, 2024

  Press Release. For the plan to be approved, 75% of claimants must vote in favor of

  it. The vote will close on July 26, 2024.

        May 14, 2024 Email Exchange

        On May 14, 2024, an unknown individual—on her own initiative—reached

  out via email to counsel from Beasley Allen, J&J’s outside settlement counsel, LLT’s

  in-house counsel, and a reporter from Reuters. Exhibit 5, May 14–15, 2024 Email

  Chain at 4–5. The email requested an update on “the exact date [Defendants] plan to

  issue paperwork for the 3rd bankruptcy” and solicited Defendants’ counsel to “tell

  her directly,” including via text message. Id.

        Beasley Allen responded, removing the individual and the journalist from the

  email chain, and (despite having no attorney-client relationship with Thompson




                                              4
Case 3:16-md-02738-MAS-RLS          Document 32827      Filed 06/17/24    Page 10 of 36
                                    PageID: 187066



Reuters or its employee) wrote only: “Please disregard the below attorney-client

communication.” Id. at 4.

      Defendants’ settlement counsel, Mr. Murdica, re-added the individual (who

appeared to be a “self proclaimed influencer”) and the Reuters journalist and

responded in three sentences: First, he noted that Beasley Allen seemed to be

entering into a relationship with Reuters. Id. at 3. Second, he asked that Beasley

Allen explain the nature of the relationship with Reuters that gave rise to its privilege

assertion. Id. Third, he asked that the individual who sent the email and Reuters

confirm that they are clients of Beasley Allen. 1 Id.

      The individual, who is now known to be a talc-ovarian cancer claimant, then

sent another unsolicited email communication stating that her attorneys told her that

Defendants are unwilling to settle her case. Specifically, she was advised by her

lawyers at Beasley Allen: “Johnson & Johnson is not willing to settle your case at

this time” and “to date, J&J has been unwilling to settle”:




1
  Movants’ arguments that Defendants’ counsel in some way violated any ethics rule
is a thinly veiled attempt to point the “ethical violation” finger anywhere else after
their own ethical lapses were exposed by those same emails.
As addressed in more detail in Defendants’ May 31, 2024 letter (ECF No. 32484)
Mr. Murdica’s response was entirely reasonable and proper given both the confusing
circumstances and Beasley Allen’s opaque email seemingly calling Reuters a firm
client. Had Beasley Allen wanted to ensure no communications with its client
whatsoever, it could have explained the situation with more than a 7-word email.


                                           5
Case 3:16-md-02738-MAS-RLS         Document 32827     Filed 06/17/24    Page 11 of 36
                                   PageID: 187067




Id. at 2–3. Indeed, this particular claimant was so frustrated by her misimpression of

Defendants’ total unwillingness to settle that she again wrote separately

(sidestepping her counsel once again): “Please make an offer so I can get on with

my life.” Exhibit 6, May 15, 2024 Email.

      But as discussed above, not only have there been a slew of settlement

negotiations over the years with her very counsel, Defendants currently have a

pending settlement offer out to this claimant (and all other claimants in the MDL)

through the LLT proposed plan of reorganization. The approximately $6.475 billion

settlement offer would represent one of the largest resolutions in the history of mass

tort litigation (and is more than double the amount included in the term sheet

previously negotiated with Beasley Allen). The statement Beasley Allen made to its

client (and, presumably, to other claimants) that J&J is unwilling to settle is

objectively and demonstrably false. Beasley Allen’s behavior, exposed by its client’s

unsolicited emails, amplifies a longstanding question: Why is the firm actively

opposed to settling claims at terms that are favorable to its own clients?




                                          6
Case 3:16-md-02738-MAS-RLS         Document 32827     Filed 06/17/24   Page 12 of 36
                                   PageID: 187068



      The Rise Of Product Liability MDLs And Litigation Funding

      The circumstances giving rise to these email exchanges and other similar

incidents, and the very real questions they raise, do not exist in a vacuum. This MDL

exists within a broader context of the rise of product liability MDLs and the machine

of litigation funding that has fueled it. In 1992, approximately 37,000 actions were

pending in MDLs. Exhibit 7, JPML, Statistical Analysis of Multidistrict Litigation:

1992, at 4 (Oct. 1992). Today, over 430,000 actions are pending in MDLs. Exhibit

8, JPML, MDL Statistics Report – Distribution of Pending MDL Dockets by Actions

Pending, at 4 (June 3, 2024).

      The vast majority of those MDL actions (97.3%) are pending in just 21 MDLs

with 1,000 or more actions each:




Id. All 21 of those over-1,000-action MDLs—making up over 97% of MDL practice

in the federal judiciary—are product liability litigations. Id. at 1. These MDL-based

products cases on their own represent nearly two-thirds of the civil actions on the

federal docket. Exhibit 9, U.S. District Courts—Civil Statistical Tables for the

Federal Judiciary (December 31, 2023), at Table C-1: U.S. District Courts—Civil




                                         7
Case 3:16-md-02738-MAS-RLS         Document 32827      Filed 06/17/24    Page 13 of 36
                                   PageID: 187069



Cases Filed, Terminated, and Pending, by Jurisdiction—During the 12-Month Period

Ending December 31, 2023 (Dec. 31, 2023).

      The fuel for this explosion in litigation is unquestionably third-party litigation

funding. As one plaintiff’s attorney observed: “When litigation funding came on the

scene, mass tort practice changed.” Tom Baker, Where’s the Insurance in Mass Tort

Litigation?, 101 Tex. L. Rev. 1569, 1587 (2023). “[M]ass tort funding provided to

individual law firms now regularly exceeds $50 million. One broker described a law

firm with $250 million in funding.” Id. at 1586. A litigation funder explained it in

this way:

      To understand what the financing is for, who provides it, and why the
      numbers get so big, go to Mass Torts Made Perfect and walk through
      the exhibition hall at Bellagio. There are tons of booths. For everything
      that has to be done in the lifecycle of a mass tort case--advertising,
      calling clients, intaking clients, following up to get medical records,
      everything through the process all the way through litigating the case--
      there are multiple vendors that law firms can and do outsource to. If
      you are an aggregator, meaning you find and sign-up clients, you make
      deals with firms litigating and settling the cases. They include your
      inventory of clients in return for a share of the legal fees. Funding pays
      for all of the above.

Id. at 1586–87.

      A 2022 report from the Government Accountability Office estimates that 47

active commercial litigation funders reported a total of $12.4 billion in assets under

management and that they had committed $2.8 billion to new litigation in 2021.

Exhibit 10, U.S. Government Accountability Office, Third-Party Litigation



                                          8
Case 3:16-md-02738-MAS-RLS          Document 32827       Filed 06/17/24    Page 14 of 36
                                    PageID: 187070



Financing: Market Characteristics, Data, and Trends, at 11–12 (Dec. 2022). These

numbers likely understate the true figures since publicly available data is limited. Id.

Approximately 70% of litigation funding is devoted to mass actions rather than just

an individual case. Exhibit 11, Westfleet Advisors, The Westfleet Insider: 2022

Litigation Finance Market Report, at 5–6 (2022). And for good reason: funders are

reporting a return on investment greater than 90% for their litigation funding

portfolios. Ex. 10 at 22.

      Talc Litigation Funding.

      The Smith Law Firm and Beasley Allen have partnered on talc litigation for

years. They were co-counsel together in seven talc-ovarian cancer trials, over one

third of the trials that have occurred to date. 2 Critically, Mr. Birchfield testified that

his co-counsel at the Smith Law Firm acquired litigation funding in connection with

talc litigation. Ex. 1 35:23–36:25; see also id. at 154:13–155:14. Given their co-

counsel relationship (and, thus, their representation of the same clients), litigation

funding received by the Smith Law Firm has direct implications for Beasley Allen’s

ability to settle cases (and vice versa).

       We now know through a subpoena issued in connection with this very dispute

that Fortress Investment Group LLC managed funds that invested in a loan to the



2
  It is unknown just how many of Beasley Allen’s filed cases represent a co-counsel
relationship with the Smith Law Firm.


                                            9
Case 3:16-md-02738-MAS-RLS          Document 32827       Filed 06/17/24    Page 15 of 36
                                    PageID: 187071



Smith Law Firm in the amount of $24 million. Exhibit 12, May 20, 2024 Declaration

of David Meisels, ¶ 5. That loan appears to have been refinanced, and now, based on

information and belief, the Smith Law Firm is in possession of litigation funding

through Ellington Management. Id. ¶ 4. Defendants believe this follow-on funding

was likely orders of magnitude larger than the Fortress funding, perhaps as much as

ten times the original loan. From his extensive negotiations with Beasley Allen,

Defendants’ settlement counsel, Mr. Murdica, came to the belief that “the Beasley

firm is not able to say yes to any deal, because they’re way too deep in debt from

funding.” Exhibit 13, April 16, 2023 Deposition of J. Murdica at 234:23–25.

      The Subpoenas

      After the May 14 email exchange—and given Beasley Allen’s persistent

opposition to settling this litigation, their obvious misrepresentations to their clients,

and their refusal to correct or withdraw their misleading statements—Defendants

issued subpoenas to discover the extent of any obstacles to resolution. The subpoenas

issued to Beasley Allen (ECF No. 32201); the Smith Law Firm (ECF No. 32226);

Ellington Management Group (ECF No. 322215); Fortress Investment Group LLC

(ECF No. 32203); and Thompson Reuters (ECF No. 32204).

      The subpoenas seek what can be summarized as three, discrete categories of

information: (1) documents regarding the subpoenaed parties’ litigation financing,

including communications with third parties; (2) the subpoenaed parties’



                                           10
Case 3:16-md-02738-MAS-RLS       Document 32827     Filed 06/17/24   Page 16 of 36
                                 PageID: 187072



communications with third parties regarding settlements; and (3) the subpoenaed

parties’ communications with third parties regarding Defendants’ proposed

reorganization.

       Despite the discrete nature of the documents sought, Defendants have

remained willing to work with the subpoenaed parties to further narrow the scope of

the documents sought. For instance, based on the affidavit of David Meisels,

Defendants have withdrawn the subpoena to Fortress Investment Group. Defendants

also have chosen not to further pursue the subpoena issued to Thompson Reuters and

are willing to exclude communications with Thompson Reuters and other media

organizations from the scope of the other subpoenas. Further, Defendants have never

sought—and do not seek in Request 6 to Beasley Allen and Smith Law Firm—to

obtain communications between Beasley Allen or the Smith Law Firm and their

clients.

       Defendants do, however, seek information from Beasley Allen, the Smith Law

Firm, and Ellington Management Group regarding litigation funding and their

communications with third parties (including communications between the firms

and their litigation financiers) regarding settlement authority generally and the




                                        11
Case 3:16-md-02738-MAS-RLS         Document 32827      Filed 06/17/24   Page 17 of 36
                                   PageID: 187073



proposed reorganization plan specifically. This information is relevant and

discoverable, and the Court should order it produced. 3

                               LEGAL STANDARD

      Subpoenas issued under Federal Rule of Civil Procedure must seek

information that is relevant as defined by Rule 26. See Rardon v. Falcon Safety

Prods., Inc., No. 23-1594, No. 23-1596, 2023 WL 5347298, at *2 (3d Cir. Aug. 21,

2023); OMS Invs., Inc. v. Lebanon Seabord Corp., No. 08-2681, 2008 WL 4952445,

at *2 (D.N.J. Nov. 18, 2008). Relevance is “construed broadly to encompass any

matter that bears on, or that reasonably could lead to other matter that could bear on,

any issue that is or may be in the case.” Oppenheimer Fund, Inc. v. Sanders, 437

U.S. 340, 351 (1978); see also Henry v. Morgan’s Hotel Grp., Inc., No. 15-1789,

2016 WL 303114, at *3 (S.D.N.Y. Jan. 25, 2016) (recognizing that the Oppenheimer

Court’s definition of relevance continues to apply after the 2015 amendments to the

Federal Rules of Civil Procedure). A district court may deny a motion to quash “if

there is any ground on which [the information sought] might be relevant.” Clarity

Sports Int’l LLC v. Redland Sports, No. 1:19-cv-00305, 2020 WL 7342746, at *1

(M.D. Pa. Dec. 14, 2020).

3
  In the alternative, the Court should order the subpoenaed parties to produce all
documents responsive to Defendants’ subpoenas to the Court for in camera
inspection. See In re Valsartan, 405 F. Supp. 3d 612, 618–19 (D.N.J. 2019) (noting
in camera review may be appropriate in certain circumstances); Argument §§ 1–2,
infra.


                                          12
Case 3:16-md-02738-MAS-RLS          Document 32827      Filed 06/17/24    Page 18 of 36
                                    PageID: 187074



      If the information sought via subpoena is relevant, the burden shifts to the

subpoenaed party—here Beasley Allen, Smith Law Firm, and Ellington

Management Group—to establish some basis to quash the subpoena, see In re

Domestic Drywall Antitrust Litig., 300 F.R.D. 234, 239 (E.D. Pa. 2014), or to seek a

protective order, see Fed. R. Civ. P. 26(c) (setting forth standards for motion for

protection); see also id. R. 45(d)(3)(A)–(B) (setting forth standards for motion to

quash). “The burden of the party opposing the subpoena ‘is particularly heavy to

support a motion to quash as contrasted to some more limited protection such as a

protective order.’” Green v. Crosby, 314 F.R.D. 164, 170 (E.D. Pa. 2016) (quoting

In re Domestic Drywall, 300 F.R.D. at 239).

                                    ARGUMENT

I.    Information About Litigation Funding Is Considered Relevant And
      Discoverable In Courts Across The Country.

      Local Rule 7.1.1 expressly recognizes that information concerning third-party

litigation funding is relevant, requiring the disclosure of the identity of third-party

funders, whether the funder’s approval is necessary for settlement decisions, and the

nature of the funder’s financial interest. See L.R. 7.1.1(a). The Rule then expressly

provides that the parties may seek additional discovery upon a showing of good

cause that: (1) the funder “has authority to make material litigation decisions or

settlement decisions;” (2) the “interests of the parties or the class (if applicable) are




                                           13
Case 3:16-md-02738-MAS-RLS         Document 32827       Filed 06/17/24    Page 19 of 36
                                   PageID: 187075



not being promoted or protected;” (3) “conflicts of interest exist;” or (4) the

“disclosure is necessary to any issue in the case.” L.R. 7.1.1(b).

      The very terms of the Rule make clear that litigation funding can create

diverging interests between the parties and the attorneys representing them. The Rule

also makes clear that understanding the underlying interests at play is critical to

achieving resolutions through settlement, which serves as a basis for discovery. If

this litigation is to resolve, Defendants need to know who the players are so they can

understand the financial incentives driving their motivations, and even more

fundamentally, if the financial incentives have become so out of balance that

settlement is effectively impossible.

      In other words, it’s not just the terms of the litigation funding that matters. The

size of the loan could be so large that no settlement could ever be achieved that would

be economically rational for both parties. See, e.g., In re Turkey Antitrust Litig., No.

19 C 8318, 2024 WL 1328824, at *8 (N.D. Ill. Mar. 28, 2024) (“The fear,

understandably, is that these third parties will flex their financial power to bully

plaintiffs, who own the legal right to the claim, into pursuing a course of action

adverse to plaintiffs’ interests.”); In re Pork Antitrust Litig., 2024 WL 511890, at *7

(D. Minn. Feb. 9, 2024) (“The largest harm that condoning Burford’s efforts to

maximize its return on investment would cause is the harm of forcing litigation to

continue that should have settled.”).



                                          14
Case 3:16-md-02738-MAS-RLS           Document 32827       Filed 06/17/24    Page 20 of 36
                                     PageID: 187076



       The need to understand the settlement playing field is all the more important

in a mass tort such as this, with nearly 60,000 pending cases in this MDL alone.

Unlike traditional litigation, settlement in this case would impact literally tens of

thousands of individuals’ claims. Absent exclusion of Plaintiffs’ experts under Rule

702, settlement is likely the only realistic way to resolve this mass-tort MDL as it is

a practical impossibility for 60,000 cases to go to trial.

       Understanding the relevance of litigation funding to settlement (and a host of

other issues), other courts have also enacted similar rules requiring disclosure of

third-party litigation financing. E.g., Exhibit 14, Patrick A. Tighe, Survey of Federal

and State Disclosures Regarding Litigation Funding, Advisory Committee on Civil

Rules, at 2 (Feb. 7, 2018) (noting that, as of November 2017, roughly 25% of federal

district courts “require disclosure of the identify of litigation funders in a civil case”).

Indeed, Chief Judge Connolly of the District of Delaware has issued a standing order,

modeled on this Court’s Rule 7.1.1, requiring disclosure of litigation financing.

Nimitz Techs. LLC v. CNET Media, Inc., 2022 WL 17338396, at *3 (D. Del. Nov.

30, 2022) (discussing standing order). Judge Connolly’s order—and the discovery

that followed in several cases—are a case study on why disclosure of litigation

financing is warranted and why additional discovery may be necessitated based on

those disclosures.




                                            15
Case 3:16-md-02738-MAS-RLS          Document 32827      Filed 06/17/24    Page 21 of 36
                                    PageID: 187077



      By requiring parties to comply with his order, including by issuing show cause

and contempt orders for noncompliance, Judge Connolly uncovered massive,

previously undisclosed litigation financing underlying a docket of cases in his court.

See generally id. The litigation financers were in charge of retaining counsel, were

making strategic litigation and settlement decisions, and were reaping the vast

majority of the benefits from the litigation. E.g., id. at *20–22, *25. In other words,

the litigation funders—not the named parties—were driving the litigation. Id. 4

      Following suspicions raised by odd behavior and inconsistent disclosures

under his standing rule, Judge Connolly was able to suss out the litigation financing

arrangement only by engaging in further discovery, questioning clients (and their

counsel) under oath, and requiring production of communications with the financier,

including about the initiation and settlement of cases and other documents necessary

to assess the level of control exercised by the funders. Id. at *26. The Federal Circuit



4
  Another well-publicized example of the perils of unchecked litigation financing is
playing out in district courts in Illinois and Minnesota, where Burford Capital—a
litigation financier—derailed settlements reached by the litigation parties in antitrust
litigation because it refused to assent to the settlements. See, e.g., Exhibit 15, Hailey
Konnath, Burford, Sysco Agree to Drop Litigation Funding Suits, Law360 (June 28,
2023). Had the litigation funding not been disclosed, defendants would have been
left defending cases that plaintiffs no longer wanted to prosecute with no
understanding of why the parties were unable to settle. Because the litigation funding
was disclosed, however, defendants (and the courts) are now aware of the real parties
in interest to the litigation, allowing the litigation to move forward. See, e.g., In re
Broiler Chicken Antitrust Litig., No. 16 C 8367, 2024 WL 1214568 (N.D. Ill. Mar.
21, 2024) (allowing substitution of Burford Capital entity for Sysco as plaintiff).


                                           16
Case 3:16-md-02738-MAS-RLS         Document 32827      Filed 06/17/24    Page 22 of 36
                                   PageID: 187078



denied a mandamus petition challenging Judge Connolly’s discovery, finding the

information he sought was proper because it related either “to potential legal issues

in the case” or “to aspects of proper practice before the court.” In re Nimitz Techs.

LLC, 2023-103, 2022 WL 17494845, at *2 (Fed. Cir. Dec. 8, 2022).

      In addition to Local Rule 7.1.1 and its counterparts nationwide, courts across

the country (including other district courts in the Third Circuit) have found litigation

funding documents to be relevant and discoverable under Federal Rule of Civil

Procedure 26. E.g., Hobbs. v. Am. Commercial Barge Line LLC, No. 4:22-cv-00063,

2023 WL 6276068, at *4 (S.D. Ind. Sept. 26, 2023) (finding litigation-related

medical funding relevant to settlement evaluation); Acceleration Bay LLC v.

Activision Blizzard, Inc., 2018 WL 798731, at *3 (D. Del. Feb. 9, 2018); Gbarbe v.

Chevron Corp., No. 14-cv-00173, 2016 WL 4154849, at *2 (N.D. Cal. Aug. 5, 2016)

(finding litigation financing relevant to class counsel’s adequacy); 5 In re Am. Med.


5
  It bears repeating that Beasley Allen has now filed a class action—pending in this
MDL—seeking to enjoin LLT’s proposed bankruptcy plan on behalf of all
individuals with pending talc claims (ovarian cancer or mesothelioma). Complaint
(ECF No. 1) ¶ 279, Love v. Johnson & Johnson, No. 24-cv-6320 (D.N.J. May 22,
2024); see also Ex. 18. Beasley Allen’s litigation funding is directly relevant to its
adequacy as putative class counsel.
Additionally, the rest of the MDL is functioning as a quasi-representative
proceeding. Particularly given Beasley Allen’s position on the Plaintiff Steering
Committee, evaluating the firm’s adequacy to represent the interest of all MDL
plaintiffs—and not the interests of remote litigation financiers or its own financial
health due to overwhelming debt—is of the utmost importance. See In re Zantac
(Ranitidine) Prods. Liab. Litig., 2020 WL 1669444, at *6 (S.D. Fla. Apr. 3, 2020)


                                          17
Case 3:16-md-02738-MAS-RLS            Document 32827   Filed 06/17/24   Page 23 of 36
                                      PageID: 187079



Sys., Inc., MDL No. 2325, 2016 WL 3077904, at *5 (S.D. W. Va. May 31, 2016)

(finding litigation financing relevant to plaintiffs’ motivation to undergo medical

treatment); Cobra Int’l, Inc. v. BCNY Int’l, Inc., No. 05-61225-CIV, 2013 WL

11311345, at *3 (S.D. Fla. Nov. 4, 2013); Nelson v. Millennium Labs., Inc., No. 2:12-

cv-01301, 2013 WL 11687684, at *6 (D. Ariz. May 17, 2013) (finding litigation

financing relevant to assess bias).

      Not surprisingly, MDL courts around the country have recently required

disclosure of litigation financing information given the prevalence of litigation

financing in mass tort litigation. See Exhibit 16, Case Management Order No. 61

(Third-Party Litigation Funding) (ECF No. 3815), In re 3M Combat Arms Earplug

Prods. Liab. Litig., No. 3:19-md-02885 (N.D. Fla. Aug. 29, 2023); In re Zantac

(Ranitidine) Prods. Liab. Litig., 2020 WL 1669444, at *6 (S.D. Fla. Apr. 3, 2020);

In re Nat’l Prescription Opiate Litig., 2018 WL 2127807, at *1 (N.D. Ohio May 7,

2018).

II.   There Is Good Cause For Discovery Of Information About
      Litigation Funding Here.

      Rule 7.1.1 is dispositive of the relevance of the litigation funding materials

sought by Defendants’ subpoenas. Even if it weren’t, the District of New Jersey’s

decision to issue Rule 7.1.1 and allow additional discovery of third-party litigation


(requiring disclosure of litigation financing when assessing potential leadership
counsel for plaintiffs).


                                           18
Case 3:16-md-02738-MAS-RLS          Document 32827     Filed 06/17/24   Page 24 of 36
                                    PageID: 187080



financing by rule in many ways tracks the reasoning of Your Honor’s decision in In

re Valsartan. 405 F. Supp. 3d 612 (D.N.J. 2019). Contrary to Movants’ contentions,

In re Valsartan does not stand for the proposition that discovery of third-party

litigation financing is inappropriate in all circumstances. Rather, the Court expressly

noted that it was “not ruling that litigation funding discovery is off-limits in all

instances” and that such discovery would be allowed “if good cause exists to show

the discovery is relevant,” such as “a showing that something untoward occurred.”

Id. at 615.

      The Court in Valsartan further noted that, in considering whether in camera

review (and, presumably, discovery) of litigation funding materials was warranted,

the Court would consider factors such as “whether the litigation is unduly prolonged

and if settlement or ADR is discouraged, whether counsel’s control over the

litigation is undercut, if settlement money is unduly direct away from a plaintiff, if

the attorney-client relationship is compromised, or if the professional independence

of an attorney is diminished.” Id. at 619 n.9. The decision also recognized that a

funder can still have “de facto control” over litigation decisions even without

“formal” control. Id. at 619 n.8.

      Here, there is good cause to suspect that funders have express or de facto

control over settlement, that the interests of the plaintiffs are not being promoted or

protected, and that conflicts of interests exist. The Court need look no farther than



                                          19
Case 3:16-md-02738-MAS-RLS          Document 32827      Filed 06/17/24    Page 25 of 36
                                    PageID: 187081



the May 14 email exchange to see that: Beasley Allen has an ethical obligation to

communicate settlement offers to its client, yet, in addition to failing to inform its

client of a settlement offer, it actively misrepresented to its client that Defendants

were “unwilling to settle” (Ex. 5) even though Defendants currently have a

settlement offer on the table. 6

      This individual’s interests—and likely others of Beasley Allen’s 11,000+

clients—are not being protected or promoted. Claimant begged Defendants to make

her a settlement offer. The problem is that she does not know—because her own

counsel will not tell her—that Defendants have already made an offer. This is

unlikely to be an isolated incident. Beasley Allen’s conduct suggests that other

undisclosed financial interests are actually driving its decisions relating to the

resolution of the talc litigation. It is clear that “the litigation is unduly prolonged,”

“settlement . . . is being discouraged,” and “counsel’s control over the litigation” is

potentially undercut. In re Valsartan, 405 F. Supp. 3d at 619 n.9. 7


6
  These misrepresentations regarding the Plan violate the solicitation provisions of
the Bankruptcy Code. See 11 U.S.C. § 1125(e); see also Official Comm. of Equity
Sec. Holders of Mirant Corp. v. The Wilson Law Firm, P.C. (In re Mirant Corp.),
334 B.R. 787, 789–790, 793 (Bankr. N.D. Tex. 2005) (finding that solicitation of
rejections of a plan of reorganization through the use of misleading or counterfactual
materials does not constitute good faith solicitation within the meaning of section
1125(e) of the Bankruptcy Code).
7
 Movants’ unverified contentions that they are not receiving litigation financing do
not change the analysis, particularly where, as here, the existence of such funding at
some time has been confirmed by a financier. See Ex. 12.


                                           20
Case 3:16-md-02738-MAS-RLS         Document 32827      Filed 06/17/24    Page 26 of 36
                                   PageID: 187082



      Even if this glaring example were not sufficient, additional conflicts of interest

abound. Based on the Court’s common benefit fund orders, Beasley Allen stands to

collect up to 12% of the recovery any firm earns (on top of their cut of any amount

recovered for their own clients) if the talc litigation resolves in the MDL or in state

court—but not in the bankruptcy. See Case Management Order No. 7 (ECF No. 426);

Case Management Order No. 7A (ECF No. 14741); Special Master Opinion and

Order No. 15 (ECF No. 26572) at 2–5 (summarizing the orders). 8

      Beasley Allen’s own public statements have made this conflict abundantly

clear. In a recent press release, Beasley Allen urged other firms to oppose the

bankruptcy in extremely aggressive language, but in the same breath made clear it

stands “ready to discuss a non-bankruptcy solution.” Exhibit 17, Press Release

(emphasis added). In other words, Beasley Allen knows full well that settlement is

the right outcome for this litigation, and it is not even suggesting the unprecedented

amount offered (more than double the amount in the prior term sheet) is too little.

Instead, it opposes losing the right to tax 12% of the settlement amount (i.e., some

$777 million dollars) for its own personal gain through this MDL. Particularly in

8
  Beasley Allen’s only response to this fact is to speculate that a bankruptcy court
might award something akin to a common benefit fund in some amount. May 22,
2024 Letter (ECF 32251) at 8. That speculation is belied by the terms of the
solicitation offer announced on May 1, 2024. And Beasley Allen’s musings that it
may be able to persuade the J&J Defendants to adopt another plan, in addition to
being utterly baseless, do not negate the financial incentives they are guaranteed by
a resolution through the MDL (but not through bankruptcy).


                                          21
Case 3:16-md-02738-MAS-RLS         Document 32827      Filed 06/17/24    Page 27 of 36
                                   PageID: 187083



combination with what we now know the firm is telling its clients, these public

statements are further evidence that Beasley Allen’s own financial needs are being

put ahead of its clients’, warranting the very discovery Rule 7.1.1 and your Honor

have anticipated would be necessary under the right circumstances.

      Understanding who truly has control over settlement decisions has become

even more relevant now that the plaintiffs have filed a purported class action on

behalf of all ovarian and mesothelioma talc plaintiffs, including those who favor the

plan, seeking to scuttle the plan. In particular, Beasley Allen has filed a motion for a

temporary restraining order and preliminary injunction in this MDL to try to prevent

LLT’s proposed prepackaged bankruptcy. See Exhibit 18, TRO (ECF No. 6), Love

v. LLT Management LLC, No. 3:24-cv-06320 (D.N.J. June 11, 2024).

      In other words, firms like Beasley Allen are boldly and publicly declaring that

even if 75% of claimants—i.e., the women who claim to be impacted by

Defendants’ products—support LLT’s settlement through bankruptcy, the firm still

will go to any length to prevent that settlement from being achieved. This latest

publicity stunt has squarely put at issue the “balance of the equities” and the “public

interest” (not to mention the firm’s adequacy as putative class counsel) that litigation

funding is directly relevant too. Id. at 11–12; Gbarbe, 2016 WL 4154849, at *2.




                                          22
Case 3:16-md-02738-MAS-RLS         Document 32827      Filed 06/17/24   Page 28 of 36
                                   PageID: 187084



III.   Litigation Financing       Materials Are       Necessary    To Assess
       Champerty.

       In addition to the above, information about litigation financing is also

necessary to address potential champerty issues for Plaintiffs who filed suit in states

that outlaw the practice. Champerty is defined as “an agreement to divide litigation

proceeds between the owner of the litigated claims and a party unrelated to the

lawsuit who supports or helps enforce the claim.” Champerty, Black’s Law

Dictionary (11th ed. 2019).

       A number of states still outlaw the practice. E.g., Dougherty v. Carlisle

Transp. Prods., Inc., 610 Fed. App’x 91, 93 (3d Cir. 2015) (recognizing champerty

is outlawed in Pennsylvania); WFIC, LLC v. LaBarre, 148 A.3d 812, 818–19 (Pa.

2016) (applying champerty laws to litigation funding agreement); Charlotte-

Mecklenburg Hosp. Auth v. First of Georgia Ins. Co., 455 S.E. 2d 655, 657 (N.C.

1995) (holding champerty laws apply to assignments governed by North Carolina

law by which the assignee undertakes control of the claim).

       And even states that have abolished the champerty doctrine still apply its

precepts to determine if litigation funding arrangements violate public policy. In re

Pork Antitrust Litig., 2024 WL 2819438, at *4 (D. Minn. June 3, 2024) (“Though

the State of Minnesota has abolished its common-law prohibition against champerty,

courts must still be careful to ensure that litigation financiers do not attempt to

control the course of the underlying litigation” (internal quotation marks omitted)).


                                          23
Case 3:16-md-02738-MAS-RLS         Document 32827      Filed 06/17/24   Page 29 of 36
                                   PageID: 187085



      Given that claims are pending in states that outlaw champerty and where

litigation funding may violate public policy, discovery of litigation financing is

separately relevant to assess this issue.

IV.   Litigation Financing Materials Are Not Privileged Or Protected
      Work Product.

      A.     Litigation financing materials are not privileged.

      In New Jersey, the attorney-client privilege protects confidential

communications between an attorney and a client. N.J. R. Evid. 504; see also

Hedden v. Kean University, 434 N.J. Super. 1, 10 (N.J. Super. Ct. App. Div. 2013)

(“Specifically, the attorney-client privilege generally applies to communications (1)

in which legal advice is sought, (2) from an attorney acting in his capacity as a legal

advisor, (3) and the communication is made in confidence, (4) by the client.”). But

because it “rests in the suppression of the truth[,] the privilege should be strictly

construed.” In re Selser, 15 N.J. 393, 402 (N.J. 1954).

      As an initial matter, documents regarding funding do not represent

communications in which legal advice is sought or communications between

attorneys and their clients, making the privilege inapplicable. Moreover, even if the

privilege applied, it is waived—as here—when a person discloses “any part of the

privileged matter or consented to such a disclosure made by anyone.” Stengart v.

Loving Care Agency, Inc., 201 N.J. 300, 323 (N.J. 2010). And the “common interest”

exception does not preserve the privilege because the interest shared is financial, not


                                            24
Case 3:16-md-02738-MAS-RLS        Document 32827      Filed 06/17/24   Page 30 of 36
                                  PageID: 187086



legal. Pittston Co. v. Allianz Ins. Co., 143 F.R.D. 66, 69 (D.N.J. 1992) (“A [common

interest] exists where different persons or entities have an identical legal interest

with respect to the subject matter of a communication between an attorney and client

concerning legal advice. The key consideration is that the nature of the interest must

be identical, not similar, and be legal, not solely commercial.” (cleaned up)

(emphasis added)).

      As a result, courts routinely hold that litigation funding documents are not

protected by the attorney-client privilege. See In re Dealer Mgmt. Sys. Antitrust

Litig., 335 F.R.D 510, 519 (N.D. Ill 2020) (holding litigation funding materials not

privileged); Cobra International, 2013 WL 11311345, at *3 (holding litigation

funding agreement not privileged); Cohen v. Cohen, No. 09 Civ. 10230, 2015 WL

745712, at *4 (S.D.N.Y. Jan. 30, 2015) (finding privilege waived in communications

with third-party litigation funder and refusing to apply common interest exception);

Leader Techs., Inc. v. Facebook, Inc., 719 F. Supp. 2d 373, 377 (D. Del. 2010)

(finding litigation funding documents not privileged due to waiver and refusing to

apply the “common interest” exception because the exception requires a common

legal, not financial, interest); see also, e.g., Montgomery Cty. v. MicroVote Corp.,

175 F.3d 296, 304 (3d Cir. 1999) (“The attorney-client privilege does not shield fee

arrangements”).




                                         25
Case 3:16-md-02738-MAS-RLS         Document 32827      Filed 06/17/24   Page 31 of 36
                                   PageID: 187087



      Because any litigation funding materials requested by the subpoenas (funding

agreements, communications, etc.) were necessarily shared with third parties, they

are not protected by the attorney-client privilege.

      B.     Litigation financing materials are not work product.

      Nor are the materials sought covered by the work product protection. Work

product is governed by Federal Rule of Civil Procedure 26, which protects

documents created by or for a party or party’s representative in anticipation of

litigation. Fed. R. Civ. P. 26(b)(3). In the Third Circuit, “a court must consider both

whether the moving party demonstrates that the documents were created in

anticipation of litigation and whether the material was produced because of the

prospect of litigation and for no other purpose.” Trejo v. All Lynn, LLC, 344 F.R.D.

8, 11 (D.N.J. 2023) (cleaned up) (emphasis added). Litigation funding documents

are not work product because they are “prepared with the primary purpose of

obtaining a loan, as opposed to aiding in possible future litigation.” Acceleration

Bay, 2018 WL 798731, at *2.

      Moreover, when documents are prepared for a litigation funder, which is not

a party to the litigation, “the work product protection does not apply.” Id. And even

if the work product protection did apply, the protection may be overcome by a

showing of substantial need and undue hardship. Fed. R. Civ. P. 26(b)(3)(A)(ii).

Defendants’ substantial need for the materials—to determine the genesis of



                                          26
Case 3:16-md-02738-MAS-RLS          Document 32827    Filed 06/17/24   Page 32 of 36
                                    PageID: 187088



Movants’ misrepresentations regarding settlement and to understand whether this

MDL may be resolved—is set out fully above, and there is no way by which

Defendants can obtain the information sought other than from Movants. The work

product privilege is not a bar to disclosure. 9

V.    The Requests Are Not Unduly Burdensome, Overbroad, Or
      Harassing.

      Left with no real substantive arguments, Movants fall back on boilerplate

objections of undue burden, overbreadth, and harassment. Undue burden is assessed

by considering “relevance, the need for the information requested, whether the

information can be obtained by other means, burdens the subpoena may impose, the

status of the recipient as a non-party, and the costs of compliance.” Rardon, 2023

WL 5347298 at *2. As set forth above, the discovery sought is relevant, and the

information sought cannot be obtained from sources other than Movants. Moreover,

Movants have provided nothing but rank speculation to carry their burden to show

that the subpoenas—seeking three, narrowly tailored categories of documents—

would impose outsized burdens or exorbitant costs. And while the recipients are


9
  Of course, even if the Court were to determine that certain documents within the
scope of Defendants’ subpoenas could be deemed privileged or protected work
product, the appropriate course is not to quash the subpoenas as a whole. Rather,
because Movants have “the burden of establishing that [their] documents are
privileged,” if responsive documents exist that they believe merit withholding, they
should expeditiously prepare a privilege log describing the withheld documents in
sufficient detail for Defendants and the Court to assess the claim of privilege. E.g.,
R.J. Reynolds Tobacco v. Philip Morris, Inc., 29 Fed. App’x 880, 882 (3d Cir. 2002).


                                           27
Case 3:16-md-02738-MAS-RLS         Document 32827      Filed 06/17/24    Page 33 of 36
                                   PageID: 187089



technically non-parties in that they are neither plaintiffs nor defendants, they are

parties intimately involved in (and, indeed, driving) this litigation. There is no undue

burden, and the subpoenas should not be quashed on that ground.

      Given that the subpoenas are narrowly tailored (seeking three discrete

categories of documents) and entirely justified by Movants’ own conduct, Movants’

objections on grounds of overbreadth and harassment are likewise meritless. What’s

more, Movants’ specious overbreadth and harassment objections cannot serve as a

basis to quash the subpoenas. Fed. R. Civ. P. 45(d)(3).

VI.   The Subpoenas Are Procedurally Proper.

      Lastly, Movants’ procedural arguments fare no better than their arguments

regarding the substance of the subpoenas. First, Movants’ argument that the

subpoenas are invalid because they were issued in the District of New Jersey are

outdated (by more than a decade). Since 2013, the Federal Rules of Civil Procedure

have required that subpoenas “must issue from the court where the action is

pending.” Fed. R. Civ. P. 45(a)(2). Movants’ arguments to the contrary are simply

wrong.

      Second, Movants’ contention that the subpoenas violate the 100-mile rule is

also incorrect. Rule 45 requires that “production of documents, electronically stored

information, or tangible things” take place “at a place within 100 miles of where the

person resides, is employed, or regularly transacts business in person.” Fed. R. Civ.



                                          28
Case 3:16-md-02738-MAS-RLS        Document 32827      Filed 06/17/24   Page 34 of 36
                                  PageID: 187090



P. 45(c)(2)(A) (emphasis added). Movants are all involved in the talc ovarian cancer

litigation pending in this Court; as such, employees of each entity regularly transact

business in the very Court from which the subpoena issued. Indeed, attorneys from

Beasley Allen and the Smith Law Firm will presumably be in New Jersey on July 1

to argue this very motion. The Clarkson S. Fisher Building & United States

Courthouse in Trenton is less than 60 miles from the offices of King & Spalding in

New York City, where compliance is required. Moreover, the 100-mile limitation

imposed by Rule 45 is of no consequence where, as here, the documents may be

produced electronically. See, e.g., In re BK Racing, LLC, No. 18-30241, 2023 WL

3331563, at *3 (Bankr. W.D.N.C. May 9, 2023) (holding the 100-mile rule is

inapplicable where documents can be produced via email or mail); Curtis v.

Progressive N. Ins. Co., No. CIV-17-1076-C, 2018 WL 2976432, at *2 (W.D. Okla.

June 13, 2018) (same); Frick v. Henry Indus., Inc., No. 13-2490-JTM-GEB, 2016

WL 6966971, at *3 (D. Kan. Nov. 29, 2016) (same). There is no violation of the 100-

mile rule here.

                                  CONCLUSION

      Claimant’s unsolicited communications create a real and concerning specter

that something untoward is occurring: Beasley Allen is misleading its client and

likely other plaintiffs about an unprecedented potential settlement with Defendants,

the proposed $6.675 billion restructuring plan. Defendants—and the Court—are



                                         29
Case 3:16-md-02738-MAS-RLS        Document 32827      Filed 06/17/24   Page 35 of 36
                                  PageID: 187091



entitled to know why. Movants’ motions should be denied, and Movants should be

required to answer basic questions about their litigation financing, their non-client

communications regarding settlement, and their non-client communications

regarding the proposed restructuring.



Dated: June 17, 2024                       Respectfully submitted,

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                                         30
Case 3:16-md-02738-MAS-RLS        Document 32827     Filed 06/17/24    Page 36 of 36
                                  PageID: 187092



                         CERTIFICATE OF SERVICE

      I hereby certify that on June 17, 2024, I electronically filed the foregoing

document with the clerk of the Court using the CM/ECF system, which will send

notification of such filing to the CM/ECF participants registered to receive service

in this MDL.

                                             /s/ Kristen R. Fournier
                                             Kristen R. Fournier




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